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 8                              UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10    ATLEY HENRY; LAURA HENRY,                        CASE NO. 17cv0688 JM(NLS)
11                                     Plaintiffs,     ORDER GRANTING JOINT MOTION
            v.                                         TO DISMISS ACTION
12
13    OCWEN LOAN SERVICING, LLC.;
      IMPAC MORTGAGE CORP.,
14
                                     Defendants.
15
16         For good cause shown, the court GRANTS the parties’ joint motion to dismiss
17 the action with prejudice (Doc. No.64).
18         IT IS SO ORDERED.
19 DATED: August 30, 2018
20
                                                      Hon. Jeffrey T. Miller
21                                                    United States District Judge
     cc:         All parties
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